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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:21-CR-50014
JOSHUA JAMES DUGGAR DEFENDANT

ORDER FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM

Currently before the Court is the Government's Petition for Order to Issue Writ of
Habeas Corpus Ad Testificandum (Doc. 88). Upon due consideration, the Petition is
GRANTED.

IT IS ORDERED that the Clerk of this Court issue a Writ of Habeas Corpus Ad
Testificandum directed to the following:

Sheriff, Washington County Detention Center, Fayetteville, Arkansas, and the
United States Marshals Service for the Western District of Arkansas requiring them to
produce the body of Robert Franklin, to attend the trial regarding the above entitled case
for which he is a witness, scheduled to begin on Tuesday, November 30, 2021, at 9:00
a.m., through Friday, December 3, 2021, at the United States Courthouse, John Paul
Hammerschmidt Federal Building, 35 E. Mountain, Room 509, Fayetteville, Arkansas,
and that said Robert Franklin be returned to the Washington County Detention Center at
the conclusion of his testimony. Hh.

IT IS SO ORDERED this 7 day of November,

 
 

 
